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IN THE UNITED STATES BANKRUPTCY COURT '

FOR THE DISTRICT OF DELAWARE 2001 APR 25 pM ac

In Re: Chapter 11

W.R. GRACE & CO., et al Case No. 01-01139FF)

Debtors. (Jointly Administered)

Hearing Date: May 3, 2001

at 8:00 a.m.

Objection Deadline: April 25, 2001
at 4:00 p.m.

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OBJECTION OF CREDIT LYONNAIS, NEW YORK BRANCH TO
DEBTORS’ EMERGENCY MOTION FOR INTERIM AND FINAL
ORDERS, UNDER 11 U.S.C. §§ 105, 362, AND 364, APPROVING
POSTPETITION FINANCING AND RELATED RELIEF AND SETTING
FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(c) [DOCKET NO. 25]

Credit Lyonnais, New York Branch (“Credit Lyonnais”), through its undersigned counsel,
Anderson Kill & Olick, P.C. and Walsh, Monzack and Monaco, P.A., as and for its Objection
(“Objection”) to Debtors’ Emergency Motion (“Motion”) for Interim and Final Orders Under 11
U.S.C. $§105, 362 and 364, Approving Postpetition Financing And Related Relief and Setting Final

Hearing Pursuant to Bankruptcy Rule 4001(c), respectfully states as follows:

PRELIMINARY STATEMENT

I. The Motion should be denied because the Debtors have not demonstrated that they
lack adequate cash for their operations. Unquestionably, they are accumulating significant cash as
a consequence of the statutory prohibition against payment of post-petition interest on unsecured
obligations and the application of the automatic stay to asbestos litigation. Further, at this stage of

these cases the Debtors should not pre-finance merger and acquisition activity.

De Secured financing authorized pursuant to 11 U.S.C. §364, to have priority over all

administrative expenses allowable pursuant to 11 U.S.C. §503(b)(1), presumably must itself be for [7]

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a purpose itself cognizable under that latter statute. That is, for “the actual, necessary costs and
expenses of preserving the estate ...”. Id. Credit Lyonnais believes that the Debtors cannot make
an adequate showing that the proposed financing is “necessary” for the Debtors to operate profitably
and thereby “preserve” the estate. Furthermore, at this time the funds at issue should not be made

available for acquisitions.

3: Buried in the financing agreement - and mentioned nowhere in the Motion - is a
provision allowing for the utilization of borrowed funds for “Permitted Acquisitions.” This term is
defined, essentially, as any corporate acquisition that does not otherwise adversely affect traditional
financial covenants and following which transaction the Debtors will still have at least $75 million

in borrowing availability under the loan agreement.

4, Put bluntly, the Debtors appear to have no present need for additional cash, or cash
in the magnitude of the DIP, and it is improvident for them to obtain it at this juncture on a super-
priority and secured basis under a credit facility in the amount of $250 million - - for which they will

pay substantial fees -- in order to fund acquisitions. The Motion should be denied.

FACTUAL BACKGROUND

5. The Court and the parties are respectfully referred to the discussion of the factual
background of the case and the proposed financing arrangements contained in the Motion at pages

3 through 21 thereof.

6. The existing prepetition unsecured facilities consist of a $250 million five-year
revolving credit in which Credit Lyonnais is a lender in the principal amount of $10.6 million, and
a $250 million 364 day revolving credit facility in which Credit Lyonnais does not participate. As

of the petition date, both facilities were, and remain, fully drawn.
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“MERGERS, CONSOLIDATIONS OR SALES”

ie At page 46 of the proposed Post-Petition Loan and Security Agreement (the “DIP
Agreement’), which page is annexed hereto as Exhibit A, is Section 7.9 thereof, encaptioned
“Mergers Consolidations or Sales”. This provision states that “[e]xcept for Permitted Acquisitions,
no Borrower shall enter into any transaction of merger, reorganization or consolidation, or transfer,
sell, assign, lease or otherwise dispose of all or any part of it property, or wind up, liquidate or

dissolve, or agree to do any of the foregoing .. .”

8. The introductory exception, 1.e., “Permitted Acquisitions” requires reference to
Annex A to the DIP Agreement. There, at pages A-19 and A-20, annexed hereto as Exhibit B, it is
provided that as long as the Debtors are not in default, remain in compliance with certain covenants
contained in the DIP Agreement and, “after giving effect to any such acquisition or purchases”
Debtors still have “Availability of at least $75 million,” the acquisitions will qualify as ‘Permitted
Acquisitions.”” The Debtors must, of course, obtain Bankruptcy Court approval for such transactions,
and the DIP Agreement so provides, but presumably any objection to the use of DIP priority

financing for these clearly anticipated transactions must be made now.

9. Upon information and belief, at the time the cases were commenced the Debtors had
sufficient cash for working capital and operations, notwithstanding their boilerplate assertions to the
contrary contained at pages 12-14 of the Motion. Indeed, it appears that there was little prepetition

debt other than the $500 million owing to pre-petition lenders and exposure to asbestos claimants.

10. Under these circumstances, the need for approval for the DIP Agreement has not

adequately been shown.
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ARGUMENT

THE PROPOSED FACILITY IS NOT “NECESSARY”
AS REQUIRED BY STATUTE

LI Motions for the approval of post-petition secured financing are routine, and
objections to the form of proposed financing regularly express dissatisfaction with the extent of such
loans, cross-collateralization, improper liens on avoidance actions, inadequate carve-outs for case
professionals, and inadequate time to object to validation of liens and releases of the lenders. This
Objection addresses none of those issues. Rather, it is the contention of Credit Lyonnais that no DIP
loans (or perhaps, at most, greatly reduced DIP loans) should be made to these Debtors, whether
secured or unsecured, absent a demonstration of actual financial need. Credit Lyonnais respectfully

submits that no such showing has been made.

Ie. The principal authority on bankruptcy matters has noted that the reference contained
in Bankruptcy Code Section 364(a) to the “allowability” requirement under Bankruptcy Code
Section 503(b)(1) “suggests that the transaction must meet the requirement of section 503(b)(1)(a)
that the expenses for which priority is sought be ‘actual, necessary costs and expenses of preserving

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the estate.’” Collier on Bankruptcy, 15" ed.,364.02[3], p. 364-6. Specifically, “extensions of credit
for which priority is sought must be actual and necessary.” Id. Here, the Debtors have not made that
showing. Rather, as a consequence of the Debtors’ present ability to accumulate cash, it is clear that
the financing proposed is designed not to meet the Debtors’ current needs but, rather, is in

anticipation of a program of “Permitted Acquisitions.” This, Credit Lyonnais respectfully suggests,

is premature at best.

13. The Debtors have sought approval of a method of financing for acquisitions which

the DIP Agreement contemplates will require Bankruptcy Court approval. It is not appropriate for

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the prepetition creditor body to be forced to anticipate what the Debtors’ next moves will be and
formulate objections to transactional and financing proposals on a speculative basis. The Debtors
must demonstrate - as they have not-any urgent need for approval of the DIP Agreement. Further,
they must disclose - as they have not - what their acquisition program is, how it will be
accomplished, and why the estates at this juncture should bear the expense associated with the DIP

Agreement. The fees include 3/8% per annum times the unused amount of the $250 million facility.

14. Expenses allowable under Bankruptcy Code Section 503(b)(1)(a) must be for the

“actual, necessary costs and expenses of preserving the estate.” Id. In re Burlington Motor

Holdings, Inc., 235 B.R. 741, 746 (Bankr. D.Del. 1999)(payment of interstate trucking license fees

“was a necessary cost” of doing business).

15. In order to satisfy the requirement of this statute the “actual, necessary” standard
must be met. This standard is substantial, insofar as “‘[a]llowances for administrative expenses are

narrowly construed for proper protection of other creditors.” In re Molnar Brothers, 200 B.R. 555,

558 (Bankr. D.N.J. 1996). “The priority embraces only those claims for costs that were actually and

necessarily incurred in preserving the estate for the benefit of its creditors.” Id.

16, Here, the apparent purpose of the DIP Agreement is not to allow the Debtors to
continue in business. Rather, it is clear, a purpose of the DIP facility is to pre-ordain the financial
terms for acquisitions as yet undisclosed. It is premature and misleading for the Debtors to proffer
this DIP Agreement at this time in this form without so much as a single reference to its proposed

acquisition schedule.

ly. Under these circumstances, Credit Lyonnais respectfully suggests that the Motion

is premature, incomplete, and improper. As such, it should be denied.
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CONCLUSION

WHEREFORE, Credit Lyonnais, New York Branch, respectfully requests that this Court (a)

deny the pending Motion, and (b) grant to Credit Lyonnais such further relief as is just and proper.

Respectfully submitted,

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prohibited transaction (as defined in Sections 406 of ERISA and 4975 of the Code) or violation

of the fiduciary responsibility rules with respect to any Plan; and (e) not CUBAge in a transaction
that could be subject to Section 4069 or 4212(c) of ERISA.

7.9 Mergers, Consolidations or Sales. Except for Permitted Acquisitions, no
Borrower shall enter into any transaction of merger, reorganization, or consolidation, or transfer,
sell, assign, lease, or otherwise dispose of all or any part of its property, or wind up, liquidate or
dissolve, or agres to do any of the foregoing (or apply to the Bankruptcy Court for authority to
do 90), except (i) for sales of Inventory in the ordinary course of its business; (ii) for sales or
other dispositions of property in the ordinary course of buginess that ig surplus, worm out,
obsolete or no longer useable by any Borrower, (iii) for any merger or consolidation of any
Borrower with any other Borrower; (iv) for any transfer, asle, assignment, lease or other
disposition of all or any part of its assets (upon voluntary liquidation or otherwise) by any
Borrower to any other Borrower, (v) the sale or compromice of past due accounts receivable in
connection with the collection thereof in the ordinary course of business; (vi) leases or subleases
(or assignments of leases or subleases) of fixed assets which are not included or intended to be
included in the Borrowing Base or licenses or sublicenses (or assignments of licenses or
sublicenses) of intangibles, in either case in the ordinary course af business; (vii) dispositions of
Cash Equivalents; (viii) as long as no Default or Event of Default has occurred and is continuing,
asset dispositions which are not Material Asset Dispositions, (ix) as long as no Default or Event
of Default has occurred and is continuing, a Material Asset Disposition as long as, after giving
effect to such Material Asset Disposition, the aggregate Net Proceeds from all Material Asset
Dispositions (plus the aggregate amount of insurance and condemnation proceeds relating to
Collateral consisting of Fixed Assets) received by the Borrowers after the date hereof is less than
$20,000,000, (x) as long as no Default or Event of Default has occurred and is continuing, a
Material Asset Disposition if, after giving effect to such Material Asset Disposition, (a) the
aggregate Net Proceeds from all Material Asset Dispositions (plus the aggregate amount of
insurance and condemmation proceeds relating to Collateral consisting of Fixed Assets) received
by the Borrowers after the date hereof is greater than 520,000,000 but less than $50,000,000, (b)
the aggregate outstanding Obligations at the time of the consummation of the relevant Material
Asset Disposition are Jess than $150,000,000 and (c) none of the assets which are the subject of
such Material Asset Disposition is or was an Eligible Fixed Asset or an asset located at or on any
Real Estate included within the definition of Land and Buildings.

a api i ments, No Borrower shal] {or
apply to the Bankruptcy Cont for iathccity o (i) directly or indirectly declare or make, or incur
any liability to make, any Distribution, except (A) Distributions to any other Borrower and (B)
the acquisitions of aharca of the Company's stock pursuant to afy compensation or benefit plan
approved by the Mujority Lenders (in their sole diserction) and the Bankruptcy Court, (ii) make
any change in its capital structure which would be reesonably expected to have a Material
Adverse E ffect or (iii) make my Restricted Investment, except Permitted Acquisitions.

bligations. No Borrower nor any of its
Subsidiaries shall enter into any transaction which would be Teasonably expected to have a
Material Adverse Effect.

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“Notice of Bomowing” has the meaning spetified in Section 1.2(b).
“Notice of Continuation/Conversion” bas the meaning specified in Section 2.2(0).

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means all present and flture loans, advances, liabilities,
obligations, covenants, duties, and debts owing by any Borrower to the Agent and/or any Lender,
arising under or pursuant to this Agreement or any of the other Loan Documents, whether or not
svidenced by any note, or other instrument or document, whether afising from an extension of
credit, opening of a letter of credit, acceptance, loan, guaranty, indemnification or otherwise,
whether direct or indirect, absolute or contingent, due or to become due, primary or secondary,
as principal or guarantor, and including all principal, interest, charges, expenses, fees, attorneys’
fees, filing fees and any other sums chargeable to any Borrowez hereunder or under any of the
other Loan Documents. “Obligations” includes, without limitation, (e) all debts, liabilities, and
obligations now or hereafter arising from or in connection with the Letters of Credit and (0) all
debta, liabilities and obligations now or hereafter arising from or in connection with Bank

Products.
“Orher Subsidiary” means any Subsidiary of thc Company other than those
Subsidiaries which are Borrowers.

idiary- ic” means cach Other Subsidiary which is organized
under the laws of the United States of America or a political subdivision thereof.

“Other Taxes” means any present or future stamp or documentary taxes or ally
other excise or property taxes, charges or similar levies which arise from any payment made
hereunder or from the execution, delivery or registration of, or otherwise with respect to, this
Agreement ar any other Loan Documents.

“Participant” means any Person who shall have been granted the right by any
Lender 10 participate in the financing provided by such Lender under this Agreement, and who
shall have entered into a participation agreement in form and substance satisfactory to such
Lender,

“PBGC” means the Pension Benefit Guaranty Corporation or any Governmental
Authority succeeding to the functions thereof.

“Pending Revolving Loans” means, at any time, the aggregate principal amount
of all Revolving Loans requested in any Notice of Borrowing received by the Agent which have
not yet beet advanced.

“Pension Plan” means a pension plan (as defined in Section 3(2) of ERISA)
subject to Title IV of ERISA and Code Section 412 which any Borrower or ERISA Affiliate of
any Borrower sponsors or maintains,

“Permitted Acguisitions” means. the acquisition by a Borrower of all or
substantially all of the assets of any Person or an operating business division of any Person, the
acquisition by a Borrower by merger of any Person, or the purchase by a Borrower of a majority
of the issued and outstanding voting stock of any Person; provided that (i) no Event of Default

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Shall have occurred and be continuing at the time of such acquisition or purchase or would result
after giving effect thereto; (ii) Borrowers ghall be in compliance with the covenant contained in
Section 7.22 as of the last day of the fiscal quarter of the Borrowers immediately preceding the
date such acquisition or purchase is consummated after giving pro forma effect thereto: (iii)
Borrowers shall have obtained Bankruptcy Court approval therefor, and (iv) after giving effect to
any such acquisition or purchases, Borrowers shall have Availabiliry of at least $75 million.

“Permitted Intercompany Deby” means (a) unsecured Debt of any Borrower to
any other Borrower and (6) unsecured Debt of any Borrower to any Other Subsidiary that is
subordinated to the Obligations hercunder.

"Permitted Liens” means, as to any Borrower:

(a) Liens for taxes, assessments and other govemmental charges not
delinquent or statutory Liens for taxes in an amount (not to exceed $1,000,000 in the aggregate
for the Borrowers) provided that the payment of such taxes which are duc and payable is being
contested in good faith and by appropriate proceedings diligently pursued and as to which
adequate financial reserves, to the extent required by GAAP, have deen established on the
applicable Borrower's books and records and a stay of enforcement of any such Lien is in effect;

(b) the Agent's Liens;

(c) Liens consisting of deposits made in the ordinary course of business in
connection with, or to secure payment of, obligations under worker’s compensation,
unemployment insurance, social security and other similar laws, or to secure the performance of
bids, tenders or contracts (other than for the repayment of Debt) or to secure indemnity,
performance or other similar bonds for the performance of bids, tenders or contracts (other than
for the repayment of Debt) of to secure statutory obligations (other than liens arising under
ERISA or Environmental Liens) or surety or appeal bonds, or to secufe indemnity, performance
or other similar bonds;

(d) Liens securing the claims or demands of materialmen, mechanics, carriers,
warehousemen, landlords and other like Persons, provided that if any such Lien arises from the
nonpayment of such claims or demand when due, such claims or demands shal] not exceed
$1,000,000 in the aggregate;

(e) Liens constinuting encumbrances in the nature of reservations, exceptions,
encroachments, easements, tights of way, covenants running with the land, and other similar title
exceptions or encumbrances affecting any Real Estate; provided that they do not in the aggregate
materially detract from the value of the Real Estate or materially mterfere with its use in the
ordinary conduct of such Borrower's business;

(f} Liens arismg from judgments and attachments in connection with court
proceedings provided that the attachment or enforcement of such Liens would not result in an
Event of Default hereunder and such Liens are being contested in good faith by appropnale
proceedings, sdequate reserves have been set acide and no material Property is cubject to a
material risk of loss or forfeiture and the claims in respect of such Liens are fully covered by

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CERTIFICATE OF SERVICE

I, Kristie L. Dalton, certify that I am not less than 18 years of age, and that service of the
foregoing document was made on April 25, 2001 upon:

SEE ATTACHED SERVICE LIST

Under penalty of perjury, I declare fustih e foregoing is true and correct.
O4[a5 Jo! Phe)

Date Ss stie L. (alton

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